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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                    :
                                             :
                                             :
               v.                            :       Criminal No. 21-CR-609
                                             :
JEREMY BROWN                                 :
                                             :
                                             :
                      Defendant.             :


                                NOTICE OF APPEARANCE

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, hereby informs the Court that Assistant United States Attorney Jeffrey Nestler is

entering his appearance in the above-captioned matter as counsel for the United States.




                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             United States Attorney
                                             DC Bar No. 481052


                                             ___________________________
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